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                                                                                                     Demons US LLP
                                 Counsel                                                  1221 Avenue of the Americas
                                                                                            New York, NY 10020-1089
                                 lindsay.ditlow@dentons.com                                             United States
                                 D   +1 212 398 5782

                                                                       :kiR.   Salans FMC SNR Denlon Mc:Kenna Long
                                                                                                       dentons.com

MEMO ENDORSED
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                                                       August16,2017
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The Honorable Louis L. SISnton                                                       ElECTRONICALLY FILED
Daniel Patrick Moynihan
United States Courthouse                                                             DOC #: _ _ _""""'7""--r---
Southern District of New York                                                        DA TE FILED: $/;6/t 2
500 Pearl Street
New York, NY 10007-1312

          Re Dardashtian et al. v. Gilman. et al.. 17-CV-4327 CLLS) CJCE)

Dear Judge Stanton:

         We represent defendants David Gilman, Accel Commerce, LLC, Dalva Ventures, LLC, and              ~ t
Channel Reply, Inc. (the "Defendants") in the above-referenced action. With the consent of counsel~    fo               ..   1
the plaintiffs, we write to respectfully request a one (1) week extension of time from August 18, 2017 to
August 25, 2017 to submit Defendants' reply In further support of the Defendants' motion to dismiss the     _.. . . . •  t
verified complaint.                                                                                       1
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LFD/prp
